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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

        v.
                                                           No. 18-cr-0032-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

                Defendant.


                                             ORDER

       For the reasons stated on the record at the February 11, 2020 hearing, the government’s

Motion in Limine, Dkt. 298, was granted in part, and Concord’s Motion in Limine, Dkt. 300,

was granted in part and denied in part. As noted below, the Court deferred ruling on several

issues raised in the motions in limine.

       Concord is precluded from offering evidence or argument (a) relating to claims of

selective prosecution, government misconduct, or the motives of the prosecutors or investigators;

(b) that the offense charged is a “make-believe crime,” or (c) that no individual or entity has been

prosecuted on the conspiracy to defraud theory of liability charged in the indictment. The Court

deferred ruling on whether Concord may introduce evidence that the government has never

interpreted or applied statutory and regulatory provisions to conduct similar to that alleged in the

indictment.

       The government represented that it has no intention of offering (a) evidence of U.S.

sanctions imposed on Concord or its conspirators; (b) evidence relating to alleged conduct that

occurred after January 2018; or (c) evidence that the Russian government sponsored the alleged

conspiracy. And the Court ruled that it would be improper for the government to offer any such
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evidence. The government may introduce (a) evidence referring to defendant Yevgeniy

Prigozhin as “chef,” “cook,” or “boss” (but not as “Putin’s chef” or “Putin’s cook”); (b) evidence

of the lawful conduct alleged in the indictment; (c) evidence that Concord or its coconspirators

allegedly violated the restrictions on foreign national expenditures; (d) evidence that Concord or

its coconspirators allegedly discussed conducting political activities in another location (but not

in a particular country).




                                                              ________________________
                                                              DABNEY L. FRIEDRICH
                                                              United States District Judge
February 14, 2020
